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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA )
                         )
                         )
                         )
          V.             )                    CR. NO. 21-000082-2-ABJ
                         )
                         )
TROY WILLIAMS            )
          Defendant      )

                         MOTION FOR DEFENDANT TO TRAVEL

       COMES NOW, TROY WILLIAMS, defendant, through undersigned counsel

Dwight E. Crawley, and respectfully moves this Honorable Court to grant him

permission to travel to Peru on February 23, 2021, returning to Kentucky on March 10,

2021. The purpose of his travel is to get married. His fiancé lives in Peru. Counsel has

provided the government as well as United States Pretrial Services with a copy of his

flight information. Mr. Williams understands that he must abide by all of the terms and

conditions set by Pretrial Services concerning his travel.

       WHEREFORE, counsel respectfully requests that this court grant the defendant’s

motion.


                                              Respectfully submitted
                                              TROY WILLIAMS

                                                               /s/
                                              ________________________________
                                              Dwight E. Crawley, Esq.
                                              DC BAR #472672
                                              Attorney for TROY WILLIAMS
                                              Law Office of Dwight E. Crawley
                                              1300 I. Street, NW
                                              Suite 400E
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                                  CERTIFICATE OF SERVICE

       I hereby certify that on the 9th day of February, 2021, I electronically filed the foregoing
with the Clerk of Court using the CM/ECF system, which will send a notification of such filing
(NEF) to all attorneys of record.
                                                             /s/
                                             ________________________________
                                             Dwight E. Crawley, Esq.
                                             DC BAR #472672
                                             Attorney for TROY WILLIAMS
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